 Case 4:22-cv-04028-SOH Document 2            Filed 03/23/22 Page 1 of 15 PageID #: 3




                      IN THE UNITED STATE DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF ARKANSAS
                              TEXARKANA DIVISION

WILLIAM MCDOWELL and
DONNA MCDOWELL                                                                 PLAINTIFF

vs.                         Case No. 4:22-CV-04028

UNITED PARCEL SERVICE, INC.
d/b/a UPS; UNITED PARCEL SERVICE
CO.; UNITED PARCEL SERVICE
GENERAL SERVICES CO.; UNITED
PARCEL SERVICE OASIS SUPPLY
CORPORATION; UNITED PARCEL
SERVICE OF AMERICA, INC.; UPSCO
UNITED PARCEL SERVICE CO.; UPS
FLIGHT FORWARD INC.; UPS FUEL
SERVICES, INC.; UPS PROFESSIONAL
SERVICES, INC.; UPS SUPPLY CHAIN
SOLUTIONS, INC.; RYAN WILLIAM
STANISLAWSKI, Individually and as
Employee of UPS Defendants;                                                DEFENDANTS


                                      COMPLAINT


       Comes now the Plaintiff, William McDowell, by and through his attorneys, Paul

Byrd Law Firm, PLLC, and for his causes of actions against the Defendants named herein,

alleges and states, as follows:

                                    INTRODUCTION

       1.     This is an action for ordinary negligence, negligence per se, and vicarious

liability stemming from an automobile collision that occurred on April 14, 2020 in Lafayette

County, Arkansas.

                                        PARTIES




                                       Page 1 of 15
 Case 4:22-cv-04028-SOH Document 2              Filed 03/23/22 Page 2 of 15 PageID #: 4




       2.     Plaintiff William McDowell incorporates by reference herein the preceding

paragraphs as if fully set forth herein

       3.     Plaintiff William McDowell is and was at all times relevant to this case, an

adult resident of Lewisville, Lafayette County, Arkansas.

       4.     Separate Defendant UNITED PARCEL SERVICE, INC. d/b/a UPS is now

and was at all relevant times material hereto an Arkansas corporation. UNITED PARCEL

SERVICE, INC. d/b/a UPS may be served through its registered agent, CORPORATON

SERVICE COMPANY, at its registered address of 300 Spring Building Suite 900, 300 S.

Spring Street, Little Rock, AR 72201.

       5.     Separate Defendant UNITED PARCEL SERVICE CO. is now and was at

all relevant times material hereto a Georgia corporation. UNITED PARCEL SERVICE

CO. may be served through its registered agent, CSC of Cobb County, Inc., at its

registered address of 192 Anderson Street SE, Suite 125, Marietta, GA 30060.

       6.     Separate Defendant UNITED PARCEL SERVICE GENERAL SERVICES

CO. is now and was at all relevant times material hereto a Georgia corporation. UNITED

PARCEL SERVICE GENERAL SERVICES CO. may be served through its registered

agent, CSC of Cobb County, Inc., at its registered address of 192 Anderson Street SE,

Suite 125, Marietta, GA 30060.

       7.     Separate Defendant UNITED PARCEL SERVICE OASIS SUPPLY

CORPORATION is now and was at all relevant times material hereto a Georgia

corporation. UNITED PARCEL SERVICE OASIS SUPPLY CORPORATION may be

served through its registered agent, CSC of Cobb County, Inc., at its registered address

of 192 Anderson Street SE, Suite 125, Marietta, GA 30060.



                                          Page 2 of 15
 Case 4:22-cv-04028-SOH Document 2            Filed 03/23/22 Page 3 of 15 PageID #: 5




      8.     Separate Defendant UNITED PARCEL SERVICE OF AMERICA, INC. is

now and was at all relevant times material hereto a Georgia corporation. UNITED

PARCEL SERVICE OF AMERICA, INC. may be served through its registered agent,

CSC of Cobb County, Inc., at its registered address of 192 Anderson Street SE, Suite

125, Marietta, GA 30060.

      9.     Separate Defendant UPSCO UNITED PARCEL SERVICE, CO. is now and

was at all relevant times material hereto an Arkansas corporation. UPSCO UNITED

PARCEL SERVICE, CO. may be served through its registered agent, CORPORATON

SERVICE COMPANY, at its registered address of 300 Spring Building Suite 900, 300 S.

Spring Street, Little Rock, AR 72201.

      10.    Separate Defendant UPS FLIGHT FORWARD INC. is now and was at all

relevant times material hereto an Arkansas corporation. UPS FLIGHT FORWARD INC.

may be served through its registered agent, CORPORATON SERVICE COMPANY, at its

registered address of 300 Spring Building Suite 900, 300 S. Spring Street, Little Rock, AR

72201.

      11.    Separate Defendant UPS FUEL SERVICES, INC. is now and was at all

relevant times material hereto an Arkansas corporation. UPS FUEL SERVICES, INC.

may be served through its registered agent, CORPORATON SERVICE COMPANY, at its

registered address of 300 Spring Building Suite 900, 300 S. Spring Street, Little Rock, AR

72201.

      12.    Separate Defendant UPS PROFESSIONAL SERVICES, INC. is now and

was at all relevant times material hereto an Arkansas corporation. UPS PROFESSIONAL

SERVICES, INC. may be served through its registered agent, CORPORATON SERVICE



                                        Page 3 of 15
  Case 4:22-cv-04028-SOH Document 2              Filed 03/23/22 Page 4 of 15 PageID #: 6




COMPANY, at its registered address of 300 Spring Building Suite 900, 300 S. Spring

Street, Little Rock, AR 72201.

        13.   Separate Defendant UPS SUPPLY CHAIN SOLUTIONS, INC. is now and

was at all relevant times material hereto an Arkansas corporation. UPS SUPPLY CHAIN

SOLUTIONS, INC. may be served through its registered agent, CORPORATON

SERVICE COMPANY, at its registered address of 300 Spring Building Suite 900, 300 S.

Spring Street, Little Rock, AR 72201.

        14.   Separate Defendant Ryan William Stanislawski (hereinafter referred to as

“Stanislawski”) is an adult resident of Texas and has been a resident citizen of the State

of Texas at all material times referred herein. At all times mentioned in this Complaint,

Stanislawski was believed to be an agent servant, employee and/or statutory employee

of UPS Defendants. At all times mentioned in this Complaint, Stanislawski was acting

within the scope of his agency, employment, joint employment, statutory employment,

and under the control of UPS Defendants collectively.

                               JURISDICTION AND VENUE

        15.   Plaintiff William McDowell incorporates by reference herein the preceding

paragraphs as if fully set forth herein.

        16.   This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1332(a)(1), as complete diversity exists between the parties and the amount iin

controversy exceeds $75,000.00.


        17.   Venue is appropriate in this judicial district with this Court pursuant to 28

U.S.C. § 1391(b) because the events that gave rise to this Complaint occurred in this

District.


                                           Page 4 of 15
 Case 4:22-cv-04028-SOH Document 2                 Filed 03/23/22 Page 5 of 15 PageID #: 7




                                  FACTUAL ALLEGATIONS

       18.     Plaintiff William McDowell incorporates by reference herein the preceding

paragraphs as if fully set forth herein.

       19.     On April 14, 2020, at approximately 5:15 pm, Plaintiff William McDowell was

driving a 2002 Kenworth tractor trailer (VIN #1XKWDB9X72J894350) Northbound on

State Highway 53 in Lafayette County, Arkansas.

       20.     At the same time that Plaintiff William McDowell was driving Northbound on

State Highway 53, Separate Defendant Stanislawski, while acting in the course and scope

of his employment, was driving a 2008 UPS Truck (VIN #5B4KPD28683433675) traveling

Eastbound on a residential driveway located at or near 5003 Highway 53 in Lafayette

County, Taylor, Arkansas.

       21.     While Plaintiff, William McDowell, was traveling Northbound on State

Highway 53, Separate Defendant Stanislawski, in an attempt to meet his employers on

the job pressures of meeting his aggressive and demanding delivery schedule,

negligently, and additionally with willful and wanton disregard, pulled out from the

residential driveway directly in front of Plaintiff’s tractor trailer.

       22.     The impact of the UPS truck driven by Separate Defendant Stanislawski

pushed Plaintiff William McDowell off the roadway and Mr. McDowell came to rest on the

right side of the roadway facing north.

       23.     The 2008 UPS Truck (VIN #5B4KPD28683433675) driven by Separate

Defendant Stanislawski was at all times relevant to this case owned by UPS Defendants.

       24.     As a direct and proximate result of the fault of Defendants, Plaintiff William

McDowell suffered serious injuries, including excruciating pain and suffering. Moreover,



                                           Page 5 of 15
 Case 4:22-cv-04028-SOH Document 2               Filed 03/23/22 Page 6 of 15 PageID #: 8




the Plaintiffs were caused to suffer, and will continue to suffer in the future, loss of

consortium, loss of society, affection, assistance, and conjugal fellowship, all to the

detriment of their marital relationship.

                  FIRST & SECOND CAUSES OF ACTION – NEGLIENCE
                       AND NEGLIGENCE PER SE OF SEPARATE
                      DEFENDANT RYAN WILLIAM STANISLAWSKI

          25.   Plaintiff William McDowell incorporates by reference herein the preceding

paragraphs as if fully set forth herein.

          26.   At all times material hereto, Defendant Stanislawski was a professional

driver.

          27.   At all times material hereto, Defendant Stanislawski was driving a

commercial motor vehicle as defined under Arkansas and Federal law.

          28.   At all times material hereto, Defendant Stanislawski had a duty to operte

the Box Truck in accord with:

                a. All Arkansas Traffic laws;

                b. All Arkansas and Federal laws and regulations governing the operation

                   of commercial motor vehicles in the same class as the Box Truck;

                c. All industry standards governing the operation of commercial motor

                   vehicles that have a gross vehicle weight rating under 26,001 pounds;

                d. All company rules, regulations, policies and procedures governing

                   Defendant Stanislawski as a driver; and

                e. Reasonable and safe driving practices under the circumstances.

          29.   Defendant Stanislawski was negligent in the operation of the UPS box truck

he was operating in at least the following ways:



                                           Page 6 of 15
 Case 4:22-cv-04028-SOH Document 2              Filed 03/23/22 Page 7 of 15 PageID #: 9




             a. Failing to exercise reasonable and prudent care while crossing oncoming

                  traffic;

             b. Failing to keep a proper lookout for oncoming traffic;

             c. Failing to drive defensively;

             d. Operating a commercial motor vehicle while distracted;

             e. Failing to drive in accord with training provided to him by UPS

                  Defendants;

             f. Failing to drive in accord with the polices of UPS Defendants;

             g. Failing to operate the UPS box truck in accordance with generally

                  accepted industry standards, principles and practices;

             h. Failing to operate the UPS box truck in a safe and prudent manner in

                  view of the conditions that existed as the time of the subject collision;

             i.   Violating the Federal Motor Carrier Safety Regulations (“FMCSRs”), as

                  adopted into Arkansas law, the violation of each of which constitute

                  negligence per se;

             j.   Otherwise failing to act reasonably          and prudently      under       the

                  circumstances; and

             k. Such other specification of negligence that shall be added by amendment

                  or proven at trial.

       30.    Defendant owed a duty to follow the traffic safety rule of keeping a proper

lookout for the safety of Plaintiff and others, both before and at the time of the collision,

in violation of Ark. Code Ann. §27-51-104(a), (b)(6) and (b)(8). At the time of the collision,

Defendant violated his duty to follow the traffic safety rule of keeping a proper look out,



                                        Page 7 of 15
 Case 4:22-cv-04028-SOH Document 2              Filed 03/23/22 Page 8 of 15 PageID #: 10




which needlessly caused extensive property damage and severe and permanent injuries

to Plaintiff.

        31.     Defendant owed a duty to follow the traffic safety rule of keeping his vehicle

under proper control for the safety of Plaintiff and others, both before and at the time of

the collision according to Ark. Code Ann. §27-51-104(a) and (b)(6). At the time of the

collision, Defendant violated this duty of keeping his vehicle under proper control, which

needlessly caused extensive property damage and severe and permanent injuries to

Plaintiff.

        32.     Defendant owed a duty to follow the traffic safety rule of driving his vehicle

in such a manner as to not indicate a wanton disregard for the safety of Plaintiff and

others, both before and at the time of the collision according to Ark. Code Ann. §27-50-

308(a). At the time of the collision, Defendant violated this duty by driving his vehicle in

such a manner as to indicate a wanton disregard of Plaintiff, which needlessly caused

extensive property damage and severe and permanent injuries to Plaintiff.

        33.     Defendant owed a duty to follow the traffic safety rule of using ordinary care

for the safety of Plaintiff and others, both before and at the time of the collision. At the

time of the collision, Defendant violated this duty of using ordinary care, which needlessly

caused extensive property damage and severe and permanent injuries to Plaintiff.

        34.     Defendant owed a duty to follow the traffic safety rule of staying alert and

driving attentively for the safety of Plaintiff and others, both before and at the time of the

collision according to Ark. Code Ann. §27-51-104(a) and (b)(8). At the time of the collision,

Defendant violated this duty of staying alert and driving attentively, which needlessly

caused extensive property damage and severe and permanent injuries to Plaintiff.



                                         Page 8 of 15
 Case 4:22-cv-04028-SOH Document 2               Filed 03/23/22 Page 9 of 15 PageID #: 11




       35.    Defendant owed a duty to follow the traffic safety rule of yielding the right-

away for the safety of Plaintiff and others, both before and at the time of the collision

according to Ark. Code Ann. § 27-51-603. At the time of the collision, Defendant violated

this duty of yielding the right-away, which needlessly caused extensive property damage

and severe and permanent injuries to Plaintiff.

       36.    At the time of the collision made the basis of this lawsuit, Separate

Defendant Ryan William Stanislawski was acting in the line and scope of his employment

and/or agency for UPS Defendants.

       37.    The injuries and damages suffered by Plaintiff William McDowell were

proximately caused by the wrongful, reckless, negligent, and/or wanton conduct of

Defendants.

       38.    As a direct and proximate result of the collision and the wrongful and

negligent acts and/or omissions of Separate Defendant Stanislawski, Plaintiff William

McDowell suffered, inter alia, severe and permanent injuries; past, present, and future

lost wages and loss of earning capacity; conscious physical and emotional pain, suffering

and mental anguish; past medical costs; and other damages in excess of the amount

required for federal diversity jurisdiction.

                             THIRD CAUSE OF ACTION
                     VICARIOUS LIABILITY OF UPS DEFENDANTS

       39.    Plaintiff William McDowell incorporates by reference herein the preceding

paragraphs as if fully set forth herein.

       40.    At all times material hereto, Defendant Stanislawski was acting within the

course and scope of his employment or agency with UPS Defendants and was furthering

the business interests of UPS Defendants.


                                           Page 9 of 15
Case 4:22-cv-04028-SOH Document 2                Filed 03/23/22 Page 10 of 15 PageID #: 12




       41.    UPS Defendants are vicariously liable for the negligent acts and/or

omissions    of   Separate    Defendant        Stanislawski   because   Separate   Defendant

Stanislawski acted as agent, servant, and/or employee of UPS Defendants at the time

that Separate Defendant Stanislawski engaged in negligent acts and/or omissions.

       42.    As a direct and proximate result of the collision and the wrongful and

negligent acts and/or omissions of these Defendants, Plaintiff William McDowell suffered,

inter alia, severe and permanent injuries; past, present, and future lost wages and loss of

earning capacity; conscious physical and emotional pain, suffering and mental anguish;

past, present and future medical costs; and other damages in excess of the amount

required for federal diversity jurisdiction.

                  CAUSATION OF PLAINTIFF WILLIAM MCDOWELL’S
                            INJURIES AND DAMAGES

       43.    Plaintiff William McDowell incorporates by reference herein the preceding

paragraphs as if fully set forth herein.

       44.    The injuries and damages sustained by Plaintiff William McDowell, more

particularly described below, were produced in a natural and continuous sequence from

the Defendants’ violations of one or more of the above-described independent duties to

use for the safety of Mr. McDowell.

       45.     The injuries and damages sustained by Plaintiff William McDowell were a

probable consequence from the Defendants’ violations of one or more of the above-

described independent duties to use for the safety of Mr. McDowell.

       46.     Defendants should have foreseen and anticipated that a violation of one or

more of the above-described independent duties and not following the safety rules would

constitute an appreciable risk of harm to others, including Plaintiff William McDowell.


                                        Page 10 of 15
Case 4:22-cv-04028-SOH Document 2                 Filed 03/23/22 Page 11 of 15 PageID #: 13




       47.    If Defendants had not violated one or more of the above-described

independent duties and followed the safety rules for the safety of Plaintiff William

McDowell, then Mr. McDowell's injuries and damages would not have occurred.

       48.    As a direct and proximate result of the collision and the wrongful and

negligent acts and/or omissions of the Defendants, Plaintiff William McDowell suffered,

inter alia, severe and permanent injuries; past, present, and future lost wages and loss of

earning capacity; conscious physical and emotional pain, suffering and mental and

anguish; past, present and future medical costs; and other damages in excess of the

amount required for federal diversity jurisdiction.


 COMPENSATORY DAMAGES SUSTAINED BY PLAINTIFF WILLIAM MCDOWELL


       49.    Plaintiff William McDowell incorporates by reference herein the preceding

paragraphs as if fully set forth herein.

       50.    The injuries and damages sustained by Plaintiff William McDowell as a

result of each Defendants’ violations as set forth above of one or more of the above,

include, but are not limited to, the following:

       a.     Serious and permanent bodily injuries to Plaintiff William McDowell’s
              neck, back, elbow, left shoulder, left hand, eyes, lungs, traumatic
              brain injury and other parts of his body, which is a life changing event
              causing Mr. McDowell to lose the ability to enjoy a normal quality of
              life;

       b.     Cervical injury with bilateral radiculitis with continuous neck pain
              radiating to the shoulder blade with aggravation of multilevel
              spondylosis;

       c.     Left shoulder tear with reported tear;

       d.     Lumbar injury with continuous low back pain with facetogenic
              features;


                                        Page 11 of 15
Case 4:22-cv-04028-SOH Document 2              Filed 03/23/22 Page 12 of 15 PageID #: 14




       e.     Left hand dysesthesia;

       f.     Saddle embolism with pulmonary emboli now manifesting with
              residual shortness of breath;

       g.     Traumatic brain injury with manifestation of complex partial seizures
              with possible anoxic encephalopathy, cognitive deficits, and
              psychological changes which include depression, anxiety and
              monophobia;

       h.     Right eye temporal field defect with peripheral vision and depth
              perception deficits;

       i.     Right retro-orbital headaches triggered by right gaze;

       j.     Medical expenses incurred in the past and reasonably expected to
              be incurred in the future, and transportation expenses to obtain such
              medical treatment;

       k.     Physical pain and suffering experienced in the past and reasonably
              expected to be experienced in the future;

       l.     Loss of income in the past and reasonably expected to be
              experienced in the future;

       m.     Loss of earning capacity due to permanent physical impairment from
              the injuries caused by the collision;

       n.     Mental anguish experienced in the past and reasonably expected to
              be experienced in the future, which includes, but is not limited to,
              Plaintiff William McDowell's adjustment disorder, loss of quality of life
              due to permanent injuries causing chronic pain that limits his
              activities; and

       o.     The reasonable expense of any necessary help in Plaintiff William
              McDowell’s home in the past, and reasonably certain to be required
              in the future, as a result of Mr. McDowell's injuries.

       51.    The injuries and damages sustained by Donna McDowell as a result of

Defendants’ violations, include, but are not limited to, the following:

             a. Loss of consortium, loss of society, affection, assistance, and conjugal

                 fellowship, all to the detriment of their marital relationship.


                                       Page 12 of 15
Case 4:22-cv-04028-SOH Document 2            Filed 03/23/22 Page 13 of 15 PageID #: 15




                                 AMOUNT OF DAMAGES

       52.    Plaintiff William McDowell incorporates by reference herein the preceding

paragraphs as if fully set forth herein.

       53.    The injuries and damages to Plaintiff William McDowell are in excess of the

minimum amount required for federal court jurisdiction in diversity of citizenship cases,

for which Mr. McDowell should be awarded a judgment as against the Defendants in an

amount to fully and fairly compensate him for each and every element of damages that

has been suffered.

                                   PUNITIVE DAMAGES

       54.    Plaintiff William McDowell incorporates by reference herein the preceding

paragraphs as if fully set forth herein.

       55.    Plaintiff William McDowell is entitled to punitive damages from Defendants

UNITED PARCEL SERVICE, INC. d/b/a UPS; UNITED PARCEL SERVICE CO.; UNITED

PARCEL SERVICE GENERAL SERVICES CO.; UNITED PARCEL SERVICE OASIS

SUPPLY CORPORATION; UNITED PARCEL SERVICE OF AMERICA, INC.; UPSCO

UNITED PARCEL SERVICE CO.; UPS FLIGHT FORWARD INC.; UPS FUEL

SERVICES, INC.; UPS PROFRESSIONAL SERVICES, INC.; UPS SUPPLY CHAIN

SOLUTIONS, INC.; and RYAN WILLIAM STANISLAWSKI, for their conduct wherein they

knew or ought to have known, in light of the surrounding circumstances, that their conduct

would naturally or probably result in injury or damage, and that they continued such

conduct with malice or reckless disregard of the consequences from which malice could

be inferred. These were reckless acts and omissions that occurred under circumstances

where the defendants’ conduct, in total disregard of the consequences, would naturally



                                       Page 13 of 15
Case 4:22-cv-04028-SOH Document 2              Filed 03/23/22 Page 14 of 15 PageID #: 16




and probably result in injury or damages to Mr. McDowell. Defendants knew or should

have known, in light of the surrounding circumstances that their conduct would naturally

and probably result in serious injury, and continued this conduct with malice and reckless

disregard for the consequences of its actions for which punitive damages should be

awarded.

                                DEMAND FOR JURY TRIAL

          56.   Plaintiff William McDowell incorporates by reference herein the preceding

paragraphs as if fully set forth herein.

          57.    Plaintiff William McDowell demands a jury trial for all issues of fact

presented by this action.

                         RESERVATION OF ADDITIONAL CLAIMS

          58.   Plaintiff William McDowell incorporates by reference herein the preceding

paragraphs as if fully set forth herein.

          59.    Plaintiff William McDowell reserves the right to plead further upon

completion of discovery to state additional claims and to name additional parties to this

action.



          WHEREFORE, Plaintiff William McDowell prays that after a jury trial of this action

that he be awarded the following:

          A.    A judgment against Defendants in such an amount that will fully and
                fairly compensate him for all of the above-described compensatory
                damages and for punitive damages against all Defendants, in an
                amount in excess of that required for federal court jurisdiction in
                diversity of citizenship cases;

          B.    All costs expended herein including attorneys’ fees and any expert
                costs and fees as permitted by law;

                                        Page 14 of 15
Case 4:22-cv-04028-SOH Document 2        Filed 03/23/22 Page 15 of 15 PageID #: 17




     C.   Loss of consortium, loss of society, affection, assistance, and
          conjugal fellowship, all to the detriment of their marital relationship.

     D.   A pre- and post-judgment interest award against the Defendants to
          compensate for loss of money and to the extent of and for the
          reasons permitted by law; and

     E.   All other proper relief to which he may be entitled in the premises.

                                              Respectfully Submitted,

                                              Paul Byrd, ABN 85020
                                              Patrick Kirby, ABN 88125
                                              Dusty Dawn Smith, ABN 2021262
                                              Paul Byrd Law Firm, PLLC
                                              415 North McKinley, Suite 210
                                              Little Rock, AR 72205
                                              Phone: (501) 420-3050
                                              Fax: (501) 420-3128
                                              Paul@PaulByrdLawFirm.com
                                              Patrick@PaulByrdLawFirm.com
                                              Dusty@PaulByrdLawFirm.com

                                              and

                                              Steve Crane, ABN 78033
                                              Ryan Phillips, ABN 2006074
                                              Crane, Phillips & Rainwater, PLLC
                                              P.O. Box 727
                                              Magnolia, AR 71754
                                              Phone: (870) 234-4727
                                              Fax:    (870) 234-4181
                                              Crane@MagnoliaLaw.net
                                              Phillips@MagnoliaLaw.net




                                      By:     _Paul Byrd_____________________
                                              Paul Byrd, Bar No. 85020




                                  Page 15 of 15
